Case 3:22-cv-00049-NKM-JCH Document 94 Filed 11/15/22 Page 1 of 1 Pageid#: 794




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

  DOE et al,                                                    )
  Plaintiff,                                                    )
                                                                ) No. 3:22-CV-00049
  v.                                                            )
                                                                )
  MAST et al,                                                   )
  Defendant.                                                    )
                                                                )

         MOTION FOR PRO HAC VICE ADMISSION OF EHSON KASHFIPOUR

        I, Maya M. Eckstein, as an attorney admitted to practice in this Court and as counsel of

 record in the instant proceeding, hereby move this Court pursuant to United States District

 Court for the Western District of Virginia Local Rule 6(d) for an Order granting Ehson

 Kashfipour of Latham & Watkins LLP leave to appear pro hac vice for the purpose of appearing

 as counsel on behalf of Plaintiffs in this case. Mr. Kashfipour is an active member in good

 standing and currently eligible to practice law in the District of Columbia (D.C. Bar No.

 1736422). In support of this motion, Mr. Kashfipour’s declaration is attached hereto as Exhibit

 A.

        WHEREFORE, the undersigned counsel respectfully requests that the Court enter an

 Order granting Ehson Kashfipour leave to appear pro hac vice in this case.

 Respectfully submitted,

 November 15, 2022                                    /s/ Maya Eckstein_
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